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                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                       IN THE UNITED STATES DISTRICT COURT                             September 19, 2018
                                                                                        David J. Bradley, Clerk
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

MARANDA LYNN ODONNELL, et al.,                   §
On behalf of themselves and all others           §
similarly situated,                              §
                                                 §
                       Plaintiffs,               §
                                                 §   CIVIL ACTION NO. H-16-1414
VS.                                              §
                                                 §
HARRIS COUNTY, TEXAS, et al.,                    §
                                                 §
                       Defendants.               §

                                             ORDER

       Section (10) of the Revised Amended Preliminary Injunction orders Harris County to “make

a weekly report to this court of any misdemeanor arrestee identified in Sections (8), (11), and (12)

for whom a hearing and individual assessment has not been held within 48 hours of arrest.” (Docket

Entry No. 427 at 6). The County’s September 11, 2018 report states that from September 1 through

September 9, there were 62 misdemeanor arrestees “who were not present for their initial bail

hearing, before a Hearing Officer, within 48 hours of arrest.” (September 11, 2018 Report at 1.)

The report does not identify arrestees who were released on money bail or on a personal bond. The

court believes that it would be helpful for the County to include in subsequent reports: (1) the

number of arrestees released on money bail that did not require paying some amount or posting a

bond before release; (2) the number of arrestees released on money bail that required prepaying

some amount or posting a bond before release; and (3) the number of arrestees released on personal
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bond with no financial condition.1 The court asks the County to either include this information in

the next and subsequent reports, or to state in the next report reasons why this information is not

appropriately included.

                SIGNED on September 19, 2018, at Houston, Texas.


                                                      ______________________________________
                                                               Lee H. Rosenthal
                                                         Chief United States District Judge




        1
         This applies only to those who have had their individualized hearings within 48 hours after arrest
and are released.
